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                               IN THE UNITED STATES
                              DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

      TARA LEIGH PATRICK A/KIA                        §
      CARMEN ELECTRA; AND                             §
      CIELO JEAN GIBSON                               §
                          Plaintiffs,                 §
                                       §
      v.                               §                                    CASE NO.: 5:18-cv-00910
                                       §
      KHG OF SAN ANTONIO, L.L.C. D/B/A §
      TIFFANY'S CABARET                §
                          Defendant.   §

                AGREED CONFIDENTIALITY AND PROTECTIVE ORDER

           The parties have agreed to the entry of a confidentiality and protective order

("Protective Order"). The Court therefore enters this Protective Order, and it is hereby

ORDERED:

 1.        Classified Information. "Classified Information" means any information of any

type, kind, or character that is designated as "Confidential", "For Counsel Only", or

"Attorneys Eyes Only" by any of the supplying or receiving persons, whether it be a

 document, information contained in a document, information revealed during a deposition,

 information revealed in an interrogatory answer, or otherwise.

 2.         Qualified Persons. "Qualified Persons" means:

 a.        For Counsel or Attorneys Only information:

           i.     retained counsel for the parties in this litigation and their respective staff;

           n.     actual or potential independent experts or consultants (and their

           administrative or clerical staff) engaged in connection with this litigation (which

           shall not include the current employees, officers, members or agents of parties or



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      affiliates of parties) who, prior to any disclosure of Classified lnformation to such

      person, have signed a document agreeing to be bound by the terms of this Protective

      Order (such signed document to be maintained by the attorney retaining such

      person) and have been designated in writing by notice to all counsel;

      iii.     this court and its staff and any other tribunal or dispute resolution officer

      duly appointed or assigned in connection with this litigation.

b.    For Confidential information:

      i.       the persons identified in subparagraph 2(a);

      11.      the party, if a natural person;

      111.     if the party is an entity, such officers or employees of the party who are

      actively involved in the prosecution or defense of this case who, prior to any

      disclosure of Confidential information to such person, have been designated in

      writing by notice to all counsel and have signed a document agreeing to be bound

      by the terms of this Protective Order (such signed document to be maintained by

      the attorney designating such person);

      1v.      litigation vendors, court reporters, and other litigation support personnel;

      v.       any person who was an author, addressee, or intended or authorized

      recipient of the Confidential information and who agrees to keep the information

      confidential, provided that such persons may see and use the Confidential

      information but not retain a copy.

 c.   Such other person as the court may designate after notice and an opportunity to be

      heard.

 3.   Designation Criteria




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a.    Nonclassified Information. Classified Information shall not include information

      that either:

      1.      is in the public domain at the time of disclosure, as evidenced by a written

      document;

      11.     becomes part of the public domain through no fault of the recipient, as

      evidenced by a written document;

      111.    the receiving party can show by written document was in its rightful and

      lawful possession at the time of disclosure; or

      1v.     lawfully comes into the recipient's possession subsequent to the time of

      disclosure from another source without restriction as to disclosure, provided such

      third party has the right to make the disclosure to the receiving party.

b.    Classified Information. A party shall designate as Classified Information o~ly such

      information that the party in good faith believes in fact is confidential. Information

      that is generally available to the public, such as public filings, catalogues,

      advertising materials, and the like shall not be designated as Classified.

              Information and documents that may be designated as Classified

      Information include, but are not limited to, trade secrets, confidential or proprietary

      financial information, operational data, business plans, and competitive analyses,

      personnel files, personal information that is protected by law, and other sensitive

      information that, if not restricted as set forth in this order, may subject the

      producing or disclosing person to competitive or financial injury or potential legal

      liability to third parties.




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             Correspondence and other communications between the parties or with

      nonparties may be designated as Classified Information if the communication was

      made with the understanding or reasonable expectation that the information would

      not become generally available to the public.

 c.   For Counsel or Attorneys Eyes Only. The designation "For Counsel Only" or

      "Attorneys Eyes Only" shall be reserved for information that is believed to be

      unknown to the opposing party or parties, or any of the employees of a corporate

      party. For purposes of this order, so-designated information includes, but ins not

      limited to, product formula information, design information non-public financial

      information, pricing information, customer identification data, and certain study

      methodologies.

 d.   Ultrasensitive Information. At this point the parties do not anticipate the need for

      higher levels of confidentiality as to ultrasensitive documents or information.

      However, in the event that a court orders that ultrasensitive documents or

      information be produced, the parties will negotiate and ask the court to enter an

      ultrasensitive information protocol in advance of production to further protect such

      information.

 4.   Use of Classified Information. All Classified Information provided by any party

      or nonparty in the course of this litigation shall be used solely for the purpose of

      preparation, trial, and appeal of this litigation and for no other purpose, and shall

      not be disclosed except in accordance with the terms hereof.

 5.   Marking of Documents. Documents provided in this litigation may be designated

      by the producing person or by any party as Classified Information by marking each




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      page of the documents so designated with a stamp indicating that the information

      is "Confidential, "For Counsel Only", or "For Attorneys Eyes Only." In lieu of

      marking the original of a document, if the original is not provided, the designating

      party may mark the copies that are provided. Originals shall be preserved for

      inspection.

 6.   Disclosure at Depositions. Information disclosed at (a) the deposition of a party

      or one of its present or former officers, directors, employees, agents, consultants,

      representatives, or independent experts retained y counsel for the purpose of the

      litigation, or (b) the deposition of a nonparty may be designated by any party as

      Classified Information by indicating on the record at the deposition that the

      testimony is "Confidential" or "For Counsel Only" and is subject to the provisions

      of this Order.

             Any party also may designate information disclosed at a deposition as

      Classified Information by notifying all parties in writing not later than 30 days of

      receipt of the transcript of the specific pages and lines of the transcript that should

      be treated as Classified Information thereafter. Each party shall attache a copy of

      each such written notice to the face of the transcript and each copy thereof in that

      party's possession, custody, or control. All deposition transcripts shall be treated

      as For Counsel Only for a period of 30 days after initial receipt of the transcript.

              To the extent possible, the court reporter shall segregate into separate

      transcripts information designated as Classified Information with blank,

      consecutively numbered pages being provided in a nondesignated main transcript.




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      The separate transcript containing Classified Information shall have pages numbers

      that correspond to the blank pages in the main transcript.

             Counsel for a party or a nonparty witness shall have the right to exclude

      from depositions any person who is not authorized to receive Classified Information

      pursuant to the Protective Order, but such right of exclusion shall be applicable

      only during periods of examination or testimony during which Classified

      Information is being used or discussed.

 7.   Disclosure to Qualified Persons

 a.   To Whom. Classified Information shall not be disclosed or made available by the

      receiving party to persons other than Qualified Persons except as necessary to

      comply with applicable law or the valid order of a court of competent jurisdiction;

      provided, however, that in the event of a disclosure compelled by law or court order,

      the receiving party will so notify the producing party as promptly as practicable (if

      at all possible, prior to making such disclosure) and shall seek a protective order or

      confidential treatment of such information. Information designated as For Counsel

      Only shall be restricted in circulation to Qualified Persons described in

      subparagraph 2(a).

 b.   Retention of Copies During This Litigation.          Copies of For Counsel Only

      information shall be maintained only in the offices of outside counsel for the

      receiving party and, to the extent supplied to experts described in subparagraph

      2(a)(ii), in the offices of those experts. Any documents produced in this litigation,

      regardless of classification, that are provided to Qualified Persons shall be

      maintained only at the office of such Qualified Person and only necessary working




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       copies of any such documents shall be made. Copies of documents and exhibits

       containing Classified Information may be prepared by independent copy services,

       printers, or illustrators for the purpose of this litigation.

c.     Each party's outside counsel shall maintain a log of all copies of For Counsel Only

       documents that are delivered to Qualified Persons.

 8.    Unintentional Disclosures.          Documents unintentionally produced without

       designation as Classified Information later may be designated and shall be treated

       as Classified Information from the date written notice of the designation is provided

       to the receiving party.

               If a receiving party learns of any unauthorized disclosure of Confidential

       Information or For Counsel Only information, the party shall immediately upon

       learning of such disclosure inform the producing party of all pertinent facts relating

       to such disclosure and shall make all reasonable efforts to prevent disclosure by

       each unauthorized person who received such information.

 9.    Documents Produced for Inspection Prior to Designation.                 In the event

       documents are produced for inspection prior to designation, the documents shall be

       treated as For Counsel Only during Inspection. At the time of copying for the

       receive parties, Classified Information shall be marked prominently "Confidential",

       "For Counsel Only," or "Attorneys Eyes Only" by the producing party.

 10.   Consent to Disclosure and Use in Examination. Nothing in this order shall

       prevent disclosure beyond the terms of this order if each party designating the

       information as Classified Information consents to such disclosure or if the court,

       after notice to all affected parties and nonparties, orders such disclosure. Nor shall




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       anything in this order prevent any counsel of record from utilizing Classified

       Information in the examination or cross-examination of any person who is indicated

       on the document as being an author, source, or recipient of the Classified

       Information, irrespective of which party produced such information.

 11.   Challenging the Designation.

 a.    Classified Information. A party shall not be obligated to challenge the propriety of

       a designation of Classified Information at the time such designation is made, and a

       failure to do so shall not preclude a subsequent challenge to the designation. In the

       event that any party to this litigation disagrees at any stage of these proceedings

       with the designation of any information as Classified Information, the parties shall

       first try to resolve the dispute in good faith on an informal basis, such as by

       production ofredacted copies. If the dispute cannot be resolved, the objecting party

       may invoke this Protective Order by objecting in writing to the party who

       designated the document or information as Classified Information. The designating

       party shall then have 14 days to move the court for an order preserving the

       designated status of the disputed information.     The disputed information shall

       remain Classified Information unless and until the court orders otherwise. Failure

       to move for an order shall constitute a termination of the status of such item as

       Classified Information.

 b.    Qualified Persons. In the event that any party in good faith disagrees with the

       designation of a person as a Qualified Person or the disclosure of particular

       Classified Information to such person, the parties shall first try to resolve the

       dispute in food faith on an informal basis. If the dispute cannot be resolved, the




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       objecting party shall have 14 days from the date of the designation or, in the event

       particular Classified Information is requested subsequent to the designation of the

       Qualified Person, 14 days from service of the request to move the court for an order

       denying the disposed person (a) status as a Qualified Person, or (b) access to

       particular Classified Information. The objecting person shall have the burden of

       demonstrating that disclosure to the disputed person would expose the objecting

       party to the risk of serious harm. Upon the timely filing of such a motion, no

       disclosure of Classified Information shall be made to the disputed person unless

       and until the court enters an order preserving the designation.

 12.   Manner of Use In Proceedings. If a party wishes to include a document, or

       portions of a document marked as "Confidential", "For Counsel Only", or "For

       Attorneys Eyes Only" in a pleading or other paper to be filed with the Clerk, that

       party shall serve the pleading or other paper on opposing parties, but shall not file

       it. Service alone shall constitute filing for the purpose of any deadline. For 7 days

       following service, no party shall file the pleading or other paper with the Clerk

       except pursuant to a ruling on a motion for a Temporary Sealing Order under Rule

       76a. Immediately thereafter, if no motion for a Temporary Sealing Order has been

       granted, the party who served the pleading or other paper shall file it unsealed with

       the Clerk.

                If a party wishes to offer a document, or portions of a document marked as

       "Confidential", "For Counsel Only," or "For Attorneys Eyes Only" in evidence,

       any party may, at the time the document is offered, move for a Temporary Sealing

       Order.




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 13.   Return of Documents. Not later than 120 days after conclusion of this litigation

       and any appeal related to it, any Classified Information, all reproductions of such

       information, and any notes, summaries, or descriptions of such information in the

       possession of any of the person specified in paragraph 2 (except subparagraph

       2(a)(iii)) shall be returned to the producing party or destroyed, except as the court

       may otherwise order or to the extent such information has been used as evidence at

       any trial or hearing.      Notwithstanding this obligation to return or destroy

       information, counsel may retain attorney work product, including document

       indices, so long as that work product does not duplicate verbatim substantial

       portions of the text of any Classified Information.

 14.   Ongoing Obligations. Insofar as the provisions of this Protective Order, or any

       other protective orders entered in this litigation, restrict the communication and use

       of the information protected by it, such provisions shall continue to be binding after

       the conclusion of this litigation, except that (a) there shall be no restriction on

       documents that are used as exhibits in open court unless such exhibits were filed

       under a Sealing Order pursuant to Rule 76(a), and (b) a party may seek the written

       permission of the producing party or order of the court with respect to dissolution

       of this, or any other, protective order.

 15.   Advice to Clients. This order shall not bar any attorney in the course of rendering

       advice to such attorney's client with respect to this litigation from conveying to any

       party client the attorney's evaluation in a general way of Classified Information

       produced or exchanged under the terms of this order; provided however, that in

       rendering such advice and otherwise communicating with the client, the attorney




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      shall not disclose the specific contents of any Classified Information produced by

      another party if such disclosure would be contrary to the terms of this Protective

      Order.

16.   Duty to Ensure Compliance. Any party designating any person as a Qualified

      Person shall have the duty to reasonably ensure that such person observes the terms

      of this Protective Order and shall be responsible upon breach of such duty for the

      failure of such person to observe the terms of this Protective Order.

17.   Waiver.    Neither the attorney-client privilege nor work-product protection is

      waived by disclosure connected with this litigation.

18.   Modification and Exception.        The parties may, by stipulation, provide for

      exceptions to this order and any party may seek an order of the court modifying this

      Protective Order.

                                                    Signed this __ day of June, 2019.




                                                    Judge Presiding




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AGREED:

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